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                                                                                                         Garth Spencer
                                                                                              gspencer@glancylaw.com
                                                                                      1925 Century Park East, Suite 2100
                                                                                           Los Angeles, California 90067
                                                                                                          929-777-1047




                                              April 11, 2024


  VIA ECF

  The Honorable Robert M. Levy
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

          Re:     In Re Reconnaissance Energy Africa Ltd. Securities Litigation
                  Case No. 1:21-cv-06176-NRM-RML
                  Status Report in Response to March 27, 2024 Order

  Dear Judge Levy:

           Lead Plaintiff Robert Partovy hereby responds to the Court’s March 27, 2024 order, which
  states in relevant part “[w]ithin 30 days, counsel shall either file a motion for preliminary approval of
  the proposed settlement or a status report.”

         On February 27, 2024, Plaintiff filed his Unopposed Motion For (I) Preliminary Approval Of
  Class Action Settlement; (II) Certification of The U.S. Settlement Class; And (III) Approval Of
  Notice To The U.S. Settlement Class (Dkt Nos. 53-55) (“Preliminary Approval Motion”).

         The deadline for any response to the Preliminary Approval Motion has passed, with no
  opposition filed. Plaintiff has conferred with Defendants and is informed that they do not oppose the
  motion. As such, the Preliminary Approval Motion is unopposed, fully briefed, and ready for
  decision.


                                                       Sincerely,

                                                       /s/ Garth Spencer

                                                       Garth Spencer
